













Opinion issued August 31, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00289-CV
____________

C-PORT, L.L.C., C-PORT 2, L.L.C. AND DINO CHOUEST, Appellants

V.

THE BOARD OF TRUSTEES OF THE GALVESTON WHARVES, Appellee




On Appeal from the 10th District Court
Galveston County, Texas
Trial Court Cause No. 05CV0097




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants have filed an unopposed motion to dismiss his appeal.  
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P.
42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Bland.


